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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                              Criminal No. 1:19-cr-10080-NMG
                        v.

DAVID SIDOO et al.
                        Defendants.


           DEFENDANT DOUGLAS HODGE’S PRELIMINARY OPPOSITION TO
                       PROPOSED PROTECTIVE ORDER

       Defendant Douglas Hodge hereby joins Defendants’ Preliminary Opposition to Proposed

Protective Order, ECF. No. 349 (Apr. 16, 2019), and incorporates in full the arguments made

therein.

Dated: April 17, 2019                            /s/ Brien T. O’Connor
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                                CERTIFICATE OF SERVICE

               I, Brien T. O’Connor, hereby certify that on April 17, 2019, this document, filed

through the CM/ECF system, will be sent electronically to all registered participants in this matter

as identified on the Notice of Electronic Filing (NEF).




                                                  /s/ Brien T. O’Connor
